- : Case 2:10-cv-08888-CJB-JCW Document 85361 Filed 04/20/11 Page 1of3

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v apiRsii'50479-CJB-SS Document’.983-3 Filed 01/12/11 Page 1 of 3

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sae hv @PRE: OIL SPILL by “Deepwater Horizon”
get |" tt DIRECT FILING SHORT FORM'
BN. tized by Order of the Court, Civil Action No. 10 md 2175 Rec. Doc, 982

on

Order having also been fited In Civil Actions No. 10-8688 and 10-2771)

MDL 21 JUDGE CAAL BARBIER
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“Seater NA See HO SI NERS 8s LL
By subm Potidon of Triton Asset Leasing GmbH, ot
al., No. 10-2774; adopt and Inc to the Complaint and Petition of Triton

Assot Leasing Gmbh, at al, in
[Rec, Doc, 879} for private economic losses ("Bt Bundie") filed in MDL No. 2178 (10 md 2179); and/or Intervens
Into, join and otherwise adopt the Master Complaint [Rec. Doc. 881) for post-explosion injuries (“BS Bundle”)
filed in MDL No, 2479 (10 md 2179).

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tt yes, BP Claim No.: If yes, Claimant identification No,
Iain Type (Please check all that eppty}: ,

Damage or destruction to real or parganal property Foar of Future injury and/or Medicel Moritoring

Gaminge/Proft Lozs Lose of Subslslenca use of Natural Resources

Pargonat Injry/Death Removal and/or cloar-up costs

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1 This form should be filed with the U.S. District Court for the Eastarn District of Louisiana In New Orleans, Louisiane in Gil Action No. 10-8B88. While this Direct
Filing Short Form |r to be filed In CA No, 10-8888, by prior ordar of the Court, (Rec. Doc. 246, C.A- Ne, 10-2771 and Rec, Doc, 982 In MDL 2179), the fing of this form
In C.A. No. 30-8888 shall be deemed to ba simultaneously filed In CA, 10-2771 and MDL 2179, Plaintiff Uaison Counsel, after baing natified alectronicatly by tha Clerk
of Court of the filing of thls Short Form, shall promptly serve this form through the bene Nexis service system on Defense Lialenn.

The filing of this Direct Filing Short Form shail sizo serve in leu of the requirement of # Piaintift to file a Plainthf Profile Port.
Case 2:10-cv-08888-CJB-JCW Document 85361 Filed 04/20/11 Page 2 of 3

Case 2:10-md-02179-CJB-SS Document 983-3 Filed 01/12/11 Page 2 of 3

‘Brief Description:

4. For samnings/profit loss, praperty damage Bnd lose of subsistence use ctaima, describe the nature of the Injury. Far claime
invotving real estate/property, include the property location, type of proparty (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, Inciude the type and logation of fishing grounds at isaue.

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2. For parsonal injury daims, daeeribe the injury. how and when it waa suetainad, and identify all health care providers a
employers 2008 to present and complete authorization forme for each. yp, de in mm ~

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Case 2:10-md-02179-CJB-SS Document 983-3 Filed 01/12/11 Page 3 of 3

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Both BP and the Gulf Coast Claims Facility *{GCCF") are hereby autho
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crabying or oystering,

Seafood processor, distributor, ratall and seafood martes, of restaurant owner and operator, or an employes Ihereof.

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fishing businass who eam thelr living thraugh the wee of the Gulf of Mexico.

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supply, real asiata agents, and supply companies, or an employee thereof,

Recreational sport fishermen, recreational diver, baachgoar, of racrentional boater.
Plant and dock worker, Inctuding commercial seafood plant worker, longshoreman. or ferry operator.

Qwmer, laseor, of losses of real property alleged to be damaged, harned of impacted, physically or economically, Including
lesseat of ayater beds.

Hotel owner and operator, vacation rental ownar and agent, or af those who aarn their living from the teurlam industry.
Bank, financial Inetitution, or retall business that suffered losees aa a result of the Epil.

Person, who utilizes natural resourcas for:-eudsictence.

orners bry OF ALTAIP no W\ViZ<), sven) Resavccwes Loe L
‘ or \4 Aeiwira bird wilals AnA WOTINE \ife, ST ew Ap }
osion Personal injury, Medical Monltogng, ang Free Damane Related te Cleanup (Bundle 23 hall ki

Boat captain of crew involved in tha Vessels of Opportunity pregram.
Worker Iivelved in decontaminating vessels Inet came inte contact with oll andor chemical dispersants.

Vausel captain of crew who was not Involved In the Vasaeis of Opportunity program but wha ware exposed to harmful chamicals,
odors and emissions during post-explosion clean-up activities.

Intercoastal and Intertidal zones.

Clean-up worker or beach personnel Involved In claarrup activities slong storetines and

Resident wie lives or works In close proximity to coaete. watert.

rized to retease to the Defendants In MDL
nts submitted by above-named Plaintiff and information regarding the status of any
h information being trea.ad as “Confidential Access Restricted” under the Order
tiality (Pre-Trial Order No. 11), and subject to full coplas of same being made avaliable to both
plicable) filing this form and PSC through Plaintiff Liaison Counsel.

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